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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 ALASKA ELECTRICAL PENSION FUND, et
 al.,
                                                        Lead Case No.: 14-cv-7126 (JMF)
                   Plaintiffs,

      v.
                                                        NOTICE OF APPEAL
 BANK OF AMERICA, N.A., et al.,

                   Defendants.



        NOTICE IS HEREBY GIVEN that objector Fortinbras Asset Management GmbH
(“Fortinbras”), hereby appeals to the United States Court of Appeals for the Second Circuit from
the District Court’s February 26, 2020 Memorandum Opinion and Order (ECF No. 764), which
overruled Fortinbras’s objection and held that the Claims Administrator and Class Counsel did not
err in finding Fortinbras’s disputed claims invalid and excluding them from the proposed
distribution of the settlement.

Dated: March 24, 2020
       Short Hills, NJ                                     Respectfully submitted,

                                                           SPIRO HARRISON

                                                           /s/ Jason C. Spiro
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                                                           Management GmbH
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed via the ECF filing
system of the United States District Court for the Southern District of New York on March 24,
2020, and that as a result electronic notice of the filing was served upon all attorneys of record.

                                                            /s/ Peter Demato, Jr.
                                                            Peter Demato, Jr.
